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 5
 6    Attorneys for Movant

 7
 8                                   UNITED STATES BANKRUPTCY COURT
 9                                DISTRICT OF ARIZONA, PRESCOTT DIVISION
10    In re:                                                    Bankruptcy Case No. 3:14-bk-16853-DPC
11    Kenneth David McKnight and Elisa Robinson                 Chapter 13
12    McKnight,
                                                                STIPULATION FOR ADEQUATE
13                        Debtors.                              PROTECTION
14    MTGLQ Investors, L.P., successor in interest to
      Bank of America, N.A. and its successors and/or           [Re: 8655 Laramie Road, Flagstaff, AZ
15    assignees,                                                86004]

16                              Movant,
17
      vs.
18
      Kenneth David McKnight and Elisa Robinson
19    McKnight, Debtors, and Edward J. Maney,
20    Trustee,

21                              Respondents.
22
                       This Stipulation for Adequate Protection (“Stipulation”) by and between MTGLQ
23
      Investors, L.P., successor in interest to Bank of America, N.A. and its successors and/or assignees by
24
      Selene Finance, LP as servicer (“Movant”) through its counsel of record Nathan F. Smith of the Law
25
      firm of Malcolm ♦ Cisneros and Kenneth David McKnight and Elisa Robinson McKnight (“Debtors”)
26
      through counsel of record Michael Reddig is as follows:
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                       IT IS HEREBY STIPULATED:
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                       1.       This Stipulation affects the real property commonly known as 8655 Laramie

                                                            1
      STIPULATION / TS/B47834

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 1    Road, Flagstaff, AZ 86004 (the “Property”).
 2                     2.       The Debtors shall timely tender the regular monthly mortgage payments of
 3    $1,415.39 beginning May 1, 2018 and continuing each month thereafter to be received within the
 4    grace period as provided by the Note and Deed of Trust. The regular mortgage payment is subject to
 5    change in accordance with the Note and Deed of Trust.
 6                     3.       The Debtors are due for the September 2017 through March 2017 payments at
 7    $1,258.55 each, the April 2017 through August 2017 payments at $1,287.02 each, the September 2017
 8    through April 2018 payments at $1,515.39 each, subtracting suspense balance of ($229.16), for a total
 9    due of $26,338.91.
10                     4.       The Debtors shall cure the post-petition default of $26,338.91 by making a lump
11    sum payment of $5,000.00 on May 15, 2018 and paying the balance due of $21,338.91 on or before
12    August 15, 2018.
13                     5.       The Debtors shall timely perform all obligations under Movant’s loan
14    documents as they come due.
15                     6.       In the event the Debtors fail to timely perform any other obligations set forth in
16    this Stipulation, Movant shall be entitled to notify the Debtors and the Debtors’ attorney of record of
17    said default in writing. The Debtors shall have fifteen (15) calendar days from the date of the written
18    notification to cure the default.
19                     7.       If the Debtors fail to cure the default, Movant shall be entitled to lodge an Order
20    Terminating the Automatic Stay. A Declaration shall accompany the Order which states that Movant
21    duly notified the Debtors and the Debtors’ attorney of record of the default and that the default was not
22    timely cured. The Order shall be entered without further hearing.
23                     8.       All payments made under this Stipulation shall be sent to the following address:
24
                                                    Selene Finance, LP
25                                                Attn: Cashiering Dept.
                                                      PO Box 71243
26                                             Philadelphia, PA 19176-6243
27    ///
28    ///


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 1                     9.       In the event this case is converted to another Chapter under Title 11 or the
 2    automatic stay is terminated as a matter of law, the terms of this Stipulation shall immediately cease in
 3    effect and become null and void.
 4                     10.      Payments made to Movant pursuant to this Stipulation shall not prejudice its
 5    rights under its Note, Deed of Trust, Notice of Default, or Publication of Sale, if any.
 6                     11.      The Proof of Claim may be amended/supplemented to include attorney’s fees
 7    and costs, pursuant to the Note and Deed of Trust.
 8    IT IS STIPULATED.
 9                                                     Dated: 4/17/18
10                                                     _/s/ Nathan F. Smith       __________________
11                                                     Nathan F. Smith, Attorney MTGLQ Investors, L.P.,
                                                       successor in interest to Bank of America, N.A. and its
12                                                     successors and/or assignees by Selene Finance, LP as
                                                       servicer
13
14
                                                       Dated: 4/17/18
15
                                                       _ /s/ Michael Reddig        _________________
16                                                     Michael Reddig, Attorney for Debtors
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